                               Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 1 of 53
 Fill in this information to identify the case:

 Debtor name            S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        3,336,568.31

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        3,336,568.31


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        1,534,133.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            54,412.37

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,336,476.40


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,925,021.77




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                          Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 2 of 53
 Fill in this information to identify the case:

 Debtor name          S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Citibank                                               Checking                         8886                                    $1,802.22




            3.2.     Wells Fargo Bank                                       Checking                         1823                                           $0.00




            3.3.     Wells Fargo Bank                                       Checking                         1831                                           $0.00




            3.4.     Wells Fargo Bank                                       Checking                         6279                                         $36.84




            3.5.     Citbank                                                Checking                         8503                                  $22,421.90



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $24,260.96
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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                          Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 3 of 53

 Debtor         S & S Heavy Haul, LLC                                                             Case number (If known)
                Name



     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable See Attachment B-11
           11a. 90 days old or less:                            296,358.11   -                                   0.00 = ....                $296,358.11
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                             $296,358.11
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           8 Desks
           1 Refrigerator
           1 Microwave
           8 Office Chairs
           6 File Cabinets                                                                  Unknown                                             Unknown



 40.       Office fixtures

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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                          Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 4 of 53

 Debtor         S & S Heavy Haul, LLC                                                         Case number (If known)
                Name

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           5 Computers
           7 Computer Monitors
           2 Printers                                                                   Unknown                                           Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See - Attachment B - 47
                     A copy of a third party appraisal will be
                     provided to the Trustee.                                           Unknown      Appraisal                      $2,962,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                     $2,962,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                          Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 5 of 53

 Debtor         S & S Heavy Haul, LLC                                                         Case number (If known)
                Name



     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.                                         Nonresidential
                     1601 Midway, Idaho                   Real Property
                     Falls, ID 83406                      Lease                             $0.00                                                  $0.00


            55.2.                                         Nonresidential
                     1400 Trail Blvd., El                 Real Property
                     Reno Oklahoma 73036                  Lease                             $0.00                                                  $0.00


            55.3.    440 South Third Street,              Nonresidential
                     Steubenville, OH                     Real Property
                     43952                                Lease                             $0.00                                                  $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         S & S Heavy Haul, LLC                                                        Case number (If known)
                Name

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Claim against Trevor Bates related to the Debtor's 2014
           Troxell Trailer and Ford F150 Truck (VIN #75564) that are
           believed to be in his possession. Value of property is
           approximately $85,000.                                                                                           Unknown
           Nature of claim
           Amount requested                                              $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Lease payments due from Holcomb Enterprises related to
           lease of (i) 2015 Dragon 12,600 Gallon VIN 39186 and (ii)
           2015 Dragon 12,600 Gallon VIN 39187. Remaining
           payments due under lease agreement total $261,428.16.                                                            Unknown


           Insurance claim for damaged tractor and trailer
           Great West Casualty Company
           PO Box 94
           South Sioux City, NE 68776
           Attn: Carmen Whitworth                                                                                           Unknown



           Unpaid fuel charges owed by BD Haulin                                                                         $53,449.24




 78.       Total of Part 11.                                                                                          $53,449.24
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 5
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                            Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 7 of 53

 Debtor          S & S Heavy Haul, LLC                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $24,260.96

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $296,358.11

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,962,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $53,449.24

 91. Total. Add lines 80 through 90 for each column                                                         $3,336,568.31            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,336,568.31




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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                            Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 8 of 53
 Fill in this information to identify the case:

 Debtor name          S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Atlas Sales LLC                               Describe debtor's property that is subject to a lien                  $11,486.00                  Unknown
        Creditor's Name                               See Attachment B - 47
        2345 N. Woodruff Ave
        Idaho Falls, ID 83401
        Creditor's mailing address                    Describe the lien
                                                      Promissory Note
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        12/15/13                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Bank of Idaho                                 Describe debtor's property that is subject to a lien                  $78,867.00                  Unknown
        Creditor's Name                               See Attachment B - 47
        1800 Channing Way, PO Box
        14
        Idaho Falls, ID 83404
        Creditor's mailing address                    Describe the lien
                                                      Promissory Note
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        01/01/15                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        3722
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
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                           Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 9 of 53
 Debtor       S & S Heavy Haul, LLC                                                                    Case number (if know)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Bank of Idaho                                  Describe debtor's property that is subject to a lien                      $86,421.00    Unknown
       Creditor's Name                                See Attachment B - 47
       1800 Channing Way, PO Box
       14
       Idaho Falls, ID 83404
       Creditor's mailing address                     Describe the lien
                                                      Promissory Note
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3552
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Barcus                                         Describe debtor's property that is subject to a lien                     $389,722.00    Unknown
       Creditor's Name                                10 Troxell Trailers
                                                      See Attachment B - 47
       PO Box 1567
       Ardmore, OK 73402-1567
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   Daimler                                        Describe debtor's property that is subject to a lien                      $58,377.00    Unknown
       Creditor's Name                                See Attachment B - 47
       13650 Heritage Parkway
       Fort Worth, TX 76177
       Creditor's mailing address                     Describe the lien
                                                      Note and Security Agreement (Multi-State)
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 5
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                          Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 10 of 53
 Debtor       S & S Heavy Haul, LLC                                                                    Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       04/23/15                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3453
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6   Daimler                                        Describe debtor's property that is subject to a lien                      $61,799.00    Unknown
       Creditor's Name                                See Attachment B - 47
       13650 Heritage Parkway
       Fort Worth, TX 76177
       Creditor's mailing address                     Describe the lien
                                                      Note and Security Agreement (Multi-State)
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       05/06/15                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5168
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7   Daimler                                        Describe debtor's property that is subject to a lien                      $61,799.00    Unknown
       Creditor's Name                                See Attachment B - 47
       13650 Heritage Parkway
       Fort Worth, TX 76177
       Creditor's mailing address                     Describe the lien
                                                      Note and Security Agreement (Multi-State)
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       05/22/15                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7890
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.8   Keybank                                        Describe debtor's property that is subject to a lien                     $153,389.00    Unknown




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 5
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                          Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 11 of 53
 Debtor       S & S Heavy Haul, LLC                                                                    Case number (if know)
              Name

       Creditor's Name                                See Attachment B - 47
       17 Corporate Woods Blvd.
       Albany, NY 12211
       Creditor's mailing address                     Describe the lien
                                                      Master Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/21/15                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5309
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.9   Keybank                                        Describe debtor's property that is subject to a lien                     $194,853.00    Unknown
       Creditor's Name                                See Attachment B - 47
       17 Corporate Woods Blvd.
       Albany, NY 12211
       Creditor's mailing address                     Describe the lien
                                                      Master Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/21/15                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4820
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 0     Transportation Alliance Bank                   Describe debtor's property that is subject to a lien                     $259,287.00         $0.00
       Creditor's Name                                Accounts Receivable - See Attachment B-11
       4185 Harrison Blvd., Suite                     See Attachment B - 47
       200
       PO Box 1487
       Idaho Falls, ID 83404
       Creditor's mailing address                     Describe the lien
                                                      Promissory Note
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8578

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 5
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                           Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 12 of 53
 Debtor       S & S Heavy Haul, LLC                                                                    Case number (if know)
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.1
 1      Transportation Alliance Bank                  Describe debtor's property that is subject to a lien                     $178,133.00             Unknown
        Creditor's Name                               Accounts Receivable - See Attachment B-11
        4185 Harrison Blvd., Suite                    See Attachment B - 47
        200
        PO Box 1487
        Idaho Falls, ID 83404
        Creditor's mailing address                    Describe the lien
                                                      Promissory Note
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        8426
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



                                                                                                                               $1,534,133.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 5
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                         Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 13 of 53
 Fill in this information to identify the case:

 Debtor name         S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown         Unknown
           Alabama Department of Labor                               Check all that apply.
           649 Monroe Street                                          Contingent
           Montgomery, AL 36131                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown         Unknown
           Alabama Dept. of Revenue                                  Check all that apply.
           50 N. Ripley Street                                        Contingent
           Montgomery, AL 36104                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 30
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                         Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 14 of 53
 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $625.00     $625.00
          Cashdollar, Joseph                                         Check all that apply.
          630 Bridgeview Ave                                          Contingent
          Chester, WV 26034                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $862.50     $862.50
          Costantini, James                                          Check all that apply.
          142 Churchman Circle                                        Contingent
          Wintersville, OH 43953                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,938.46    $1,938.46
          Day, Brittany N                                            Check all that apply.
          8108 NW 31st Street                                         Contingent
          Bethany, OK 73008                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Delaware Division of Corporations                          Check all that apply.
          401 Federal Street #4                                       Contingent
          Dover, DE 19901                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $480.00     $480.00
          Falletti, Anthony                                          Check all that apply.
          1472 Butterfly Path Rd                                      Contingent
          Marion, SC 29571                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,825.00    $1,825.00
          Grey, John                                                 Check all that apply.
          601 SW 156th Street                                         Contingent
          Oklahoma City, OK 73170                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $3,843.03    $3,843.03
          Hamilton, Maurice A                                        Check all that apply.
          9677 Eagle Ranch Rd NW 1512                                 Contingent
          Albuquerque, NM 87114                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $735.00     $735.00
          Herbert, Tyson                                             Check all that apply.
          21055 Nolan Lane                                            Contingent
          Covington, LA 70435                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $6,580.00    $6,580.00
          Hernandez, Frank                                           Check all that apply.
          10702 Rancho Rd                                             Contingent
          Santa Rosa, TX 78593                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $180.00     $180.00
          Hilliard, Joshua                                           Check all that apply.
          815 3rd Street                                              Contingent
          Brilliant, OH 43913                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,175.00    $2,175.00
          Holcolmb, Christopher D                                    Check all that apply.
          804 17th Ave SW                                             Contingent
          Waterford City, ND 58854                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,300.00    $1,300.00
          Hurst, Fred G                                              Check all that apply.
          6592 Raley Rd                                               Contingent
          New Waterford, OH 44445                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,153.84    $2,153.84
          Hurt, Jennifer                                             Check all that apply.
          475 J St                                                    Contingent
          Idaho Falls, ID 83402                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Idaho Industrial Commission                                Check all that apply.
          700 Clearwater Lane                                         Contingent
          Boise, ID 83712                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Idaho State Tax Commission                                 Check all that apply.
          800E. Park Bl., #500                                        Contingent
          Boise, ID 83712                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Internal Revenue Service                                   Check all that apply.
          1919 Smith Street                                           Contingent
          Stop 5022                                                   Unliquidated
          Houston, TX 77002
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,325.00    $2,325.00
          Koen, Paul S                                               Check all that apply.
          2712 Ash Park                                               Contingent
          Richland Hills, TX 76118                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $8,417.99    $8,417.99
          Ledig, Shawn M                                             Check all that apply.
          354 Red Maple Dr                                            Contingent
          Mendeville, LA 70448                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Louisiana Dept. of Revenue                                 Check all that apply.
          PO Box 201                                                  Contingent
          617 North Third Street                                      Unliquidated
          Baton Rouge, LA 70821-3138                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Louisiana Workforce Commission                             Check all that apply.
          1001 N. 23rd Street                                         Contingent
          Baton Rouge, LA 70802                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $156.00    $156.00
          Love, Timothy J                                            Check all that apply.
          601 Two Ridge Rd Apt 10                                     Contingent
          Wintersvile, OH 43953                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $144.00    $144.00
          Mason, Christopher                                         Check all that apply.
          354 Lincoln Ave                                             Contingent
          Mingo Junction, OH 43938                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Montana Department of Labor                                Check all that apply.
          PO Box 1728                                                 Contingent
          Helena, MT 59624-1728                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          New Mexico Department of                                   Check all that apply.
          Workforce                                                   Contingent
          Solutions                                                   Unliquidated
          PO Box 2281
          Albuquerque, NM 87103                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,182.37    $1,182.37
          New Mexico Taxation & Revenue                              Check all that apply.
          Dept.                                                       Contingent
          PO Box 5188                                                 Unliquidated
          Attn: Commercial Vehicle Unit                               Disputed
          Santa Fe, NM 87504-5123
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Mileage Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          New Mexico Taxation and Revenue                            Check all that apply.
          Dept.                                                       Contingent
          1100 South St. Francis Drive                                Unliquidated
          Santa Fe, NM 87504-5127
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Ohio Department of Taxation                                Check all that apply.
          PO Box 530                                                  Contingent
          Columbus, OH 43216-0530                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Oklahoma Department of Labor                               Check all that apply.
          3017 N. Stiles Ave., #100                                   Contingent
          Oklahoma City, OK 73105                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Oklahoma Tax Commission                                    Check all that apply.
          2501 North Lincoln Blvd.                                    Contingent
          Oklahoma City, OK 73194                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,207.00    $1,207.00
          Phillips, Laura K                                          Check all that apply.
          153 Lawnview Drive                                          Contingent
          New Cumberland, WV 26047                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $180.00     $180.00
          Prince, Cassidy L                                          Check all that apply.
          6612 NW 32nd Street                                         Contingent
          Bethany, OK 73008                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $272.00     $272.00
          Quaigg, Nicholas K                                         Check all that apply.
          1100 Township Rd, 167A                                      Contingent
          Mingo Junction, OH 43938                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $850.00     $850.00
          Quaigg., Robert                                            Check all that apply.
          1100 TWP Road 167A                                          Contingent
          Mingo Jct., OH 43938                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,760.00    $1,760.00
          Ritter, Joseph M                                           Check all that apply.
          115 Cole Street                                             Contingent
          Dillonvale, OH 43917                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,990.00    $2,990.00
          Shaw, Dakota P                                             Check all that apply.
          1009A Springhill Rd                                         Contingent
          Barling, AR 72923                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $925.00     $925.00
          Shaw, Matthew W                                            Check all that apply.
          3176 Curry St                                               Contingent
          Liverpool, OH 43920                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $3,769.22    $3,769.22
          Shiflett, Margaret A                                       Check all that apply.
          10032 Paisley Rd                                            Contingent
          Yukon, OK 73099                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $450.00     $450.00
          Shiflett, Tara                                             Check all that apply.
          10032 Paisley Road                                          Contingent
          Yukon, OK 73099                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $5,019.96    $5,019.96
          Stone, Benjamin N                                          Check all that apply.
          955 Charbonier                                              Contingent
          Florissant, MO 63031                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown      Unknown
          Texas Comptroller of Public Accounts                       Check all that apply.
          Revenue Accounting Division                                 Contingent
          Bankruptcy Section                                          Unliquidated
          P.O. Box 13528 Capitol Station
          Austin, TX 78711                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       S & S Heavy Haul, LLC                                                                           Case number (if known)
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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Texas Workforce Commission                                 Check all that apply.
          101 E. 15th Street                                          Contingent
          Austin, TX 78778-0001                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $675.00    $675.00
          Todorich, Richard J                                        Check all that apply.
          1311 Virginia Ave                                           Contingent
          Midland, PA 15059                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $575.00    $575.00
          Williams, Charles                                          Check all that apply.
          413 Mclister Avenue                                         Contingent
          Mingo Junction, OH 43938                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $432.00    $432.00
          Wright, Shane M                                            Check all that apply.
          308 Jewett Rd                                               Contingent
          Steubenville, OH 43952                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor        S & S Heavy Haul, LLC                                                                          Case number (if known)
               Name

 2.47       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $384.00    Unknown
            Yarnevic, Shane E                                        Check all that apply.
            404 N Zane Hwy Apt A                                      Contingent
            Martins Fery, HI 43935                                    Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $680.28
           AAA 5 Star Auto Glass                                                    Contingent
           1417 West Main St.                                                       Unliquidated
           OKC, OK 73106                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $3,938.57
           Action Supply Products                                                   Contingent
           1065 Montour West Industrial Park                                        Unliquidated
           Coraopolis, PA 15108                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $3,150.29
           Advanced Tank Testing & Trailer Repair                                   Contingent
           1111 Fullerton Street                                                    Unliquidated
           Shreveport, LA 71107                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $2,240.90
           Airgas USA, LLC                                                          Contingent
           PO Box 676015                                                            Unliquidated
           Dallas, TX 75267-6015                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $25,272.52
           All Time Freight                                                         Contingent
           1815 Mountain Shadow Lane N.                                             Unliquidated
           Cheyenne, WY 82009                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 Debtor       S & S Heavy Haul, LLC                                                                   Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21.15
          American Electric Power                                             Contingent
          PO Box 24404                                                        Unliquidated
          Canton, OH 44701-4404                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $756.28
          Arrow Wrecker Service, Inc.                                         Contingent
          700 N. Villa Avenue                                                 Unliquidated
          Oklahoma City, OK 73107                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,561.39
          Ascentium Capital                                                   Contingent
          23970 US 59 North                                                   Unliquidated
          Kingwood, TX 77339                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,700.00
          Asset Vision                                                        Contingent
          540 Lake Street, Suite 11                                           Unliquidated
          Excelsior, MN 55331                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $899.24
          Bakers Sign & Shirt                                                 Contingent
          1315 S. Shepard Ave.                                                Unliquidated
          El Reno, OK 73036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Ben Freeman LLC                                                     Contingent
          25 Broadway, 9th Floor                                              Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred 04/01/18
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,230.76
          Ben Freeman LLC                                                     Contingent
          25 Broadway, 9th Floor                                              Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,874.80
          Bill Ketchum                                                        Contingent
          11440 Columbiana Canfield Road                                      Unliquidated
          Canfield, OH 44406                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,300.00
          Boyd Christensen                                                    Contingent
          5485 E. Sunnyside Road                                              Unliquidated
          Idaho Falls, ID 83406                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $321.76
          Bridgeport Equipment                                                Contingent
          500 Hall Street                                                     Unliquidated
          Bridgeport, OH 43912                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $560.63
          Bruckner Truck Sales, Inc.                                          Contingent
          Corporate Billing LLC                                               Unliquidated
          PO Box 1726                                                         Disputed
          Decatur, AL 35602
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Bulk Carriers Service, Inc.                                         Contingent
          2743 Brightwood Rd. SE                                              Unliquidated
          New Philadelphia, OH 44663                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $610.50
          Burns & Reyes Attorneys                                             Contingent
          205 South Hill St                                                   Unliquidated
          Caldwell, TX 77836                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorney Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $386.27
          Cable One                                                           Contingent
          PO Box 78000                                                        Unliquidated
          Phoenix, AZ 85062-8000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,692.00
          Cal - Ohio Lube Products Co                                         Contingent
          PO Box 245                                                          Unliquidated
          North Lima, OH 44452                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,373.00
          Capital Logistics                                                   Contingent
          12 Water Street, Suite 403B                                         Unliquidated
          White Plains, NY 10601                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $848.33
          Cargo Tank Services                                                 Contingent
          2640 West Reno Ave                                                  Unliquidated
          Oklahoma City, OK 73107                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $642.67
          City Trailer, Inc.                                                  Contingent
          10220 W. Reno Avenue                                                Unliquidated
          Oklahoma City, OK 73127                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,510.97
          Command Properties                                                  Contingent
          6549 S 5th West                                                     Unliquidated
          Idaho Falls, ID 83404                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,197.19
          COS LLC dba Castle Oilfield Services
          c/o Kip M. Kaler, Kaler Doeling, PLLP                               Contingent
          3429 Interstate Bl., S.                                             Unliquidated
          PO Box 9231                                                         Disputed
          Fargo, ND 58106-9231
                                                                             Basis for the claim:    Judgment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $163.18
          Cox Communication                                                   Contingent
          PO Box 248851                                                       Unliquidated
          Oklahoma City, OK 73124-8851                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,867.62
          Crossett Inc                                                        Contingent
          201 S Carver St, PO Box 946                                         Unliquidated
          Warren, PA 16365                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116.14
          Crystal Springs                                                     Contingent
          PO Box 660579                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,515.11
          Derritech Transport Inc.                                            Contingent
          308 Rivercrest Drive                                                Unliquidated
          Fort Smith, AR 72903                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38.85
          E Fax.com                                                           Contingent
          6922 Hollywood Blvd, 5th Floor                                      Unliquidated
          Los Angeles, CA 90028                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,288.96
          EAP Industries Inc.                                                 Contingent
          PO Box 275                                                          Unliquidated
          Atlasburg, PE 15004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,157.65
          Falcon Tire Services                                                Contingent
          P.O. 622                                                            Unliquidated
          Loving, NM 88256                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $900.00
          Fast Recruiting Inc                                                 Contingent
          3151 Airway Ave, Suite F-208                                        Unliquidated
          Costa Mesa, CA 92626                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $428.37
          Fastenal Company                                                    Contingent
          P.O. Box 978                                                        Unliquidated
          Winona, MN 55987-0978                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Federal Railroad Administration                                     Contingent
          Attn: Brian Roberts                                                 Unliquidated
          1200 New Jersey Avenue, S.E.
          W33-417                                                             Disputed
          Washington, DC 20590                                                             FRA Violations
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          ZSHV 2017-1(HMT) and ZSHV 2017-2(HMT)
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,518.97
          Fleetpride Truck & Trailer Parts                                    Contingent
          P.O. Box 847118                                                     Unliquidated
          Dallas, TX 75284-7118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $669.41
          Forrest Tire                                                        Contingent
          PO Box 1778                                                         Unliquidated
          Carlsbad, NM 88221-1778                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,000.00
          GFHG, LLC                                                           Contingent
          25 Broadway, 9th Floor                                              Unliquidated
          New York, NY 10004                                                  Disputed
          Date(s) debt was incurred 05/19/17
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          GFHG, LLC                                                           Contingent
          25 Broadway, 9th Floor                                              Unliquidated
          New York, NY 10004                                                  Disputed
          Date(s) debt was incurred 05/12/17
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $378.00
          Green Pump Systems                                                  Contingent
          29835 N 61st St                                                     Unliquidated
          Cave Creek, AZ 85331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,178.03
          Hankel Truck and Trailer Repair                                     Contingent
          P.O. Box 105                                                        Unliquidated
          Cheyenne, WY 82003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $781.58
          Heritage-Crystal Clean, LLC                                         Contingent
          13621 Collections Center Drive                                      Unliquidated
          Chicago, IL 60690-3600                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          HF Holdco LLC                                                       Contingent
          25 Broadway, 9th Floor                                              Unliquidated
          New York, NY 10004                                                  Disputed
          Date(s) debt was incurred 04/01/18
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,009.90
          Hilltop Tire                                                        Contingent
          618 W Wise St                                                       Unliquidated
          Bowie, TX 76230                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,480.00
          HudsonField, LLC                                                    Contingent
          25 Broadway                                                         Unliquidated
          New York, NE 10004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Intercompany claim for expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          HudsonField, LLC                                                    Contingent
          25 Broadway, 9th Floor                                              Unliquidated
          New York, NY 10004                                                  Disputed
          Date(s) debt was incurred 06/12/17
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $533.08
          Hungry Horse, LLC                                                   Contingent
          PO Box 1058                                                         Unliquidated
          El Reno, OK 73036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $359.33
          Iowa 80 Group                                                       Contingent
          PO Box 639 / 515 Sterling Drive                                     Unliquidated
          Walcott, IA 52773                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $429.00
          J & J Truck Wash                                                    Contingent
          128 Technology Way                                                  Unliquidated
          Steubenville, OH 43952                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,000.00
          JF Shirley Inc                                                      Contingent
          1223 South Brundidge St                                             Unliquidated
          Troy, AL 36081                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,311.10
          Jim Johnson Oil                                                     Contingent
          2501 East Highway 66                                                Unliquidated
          El Reno, OK 73036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,813.42
          JLC Trucking                                                        Contingent
          701 Ryan Street                                                     Unliquidated
          Rawlins, WY 82301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Jobbio                                                              Contingent
          3500 S. DuPont Hwy                                                  Unliquidated
          Dover, DE 19901                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,719.17
          Kenan Advantage Group                                               Contingent
          4366 Mt Pleasant St. NW                                             Unliquidated
          N. Canton, OH 44720                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,562.00
          Kenworth Sales                                                      Contingent
          Dept. #001, PO Box 27088                                            Unliquidated
          Salt Lake City UT 84127-0088                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,697.18
          Kenworth Sales Co., Paclease                                        Contingent
          Dept. #001, PO Box 27088                                            Unliquidated
          Salt Lake City, UT 84127-0088                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,013.10
          Koenig Transport                                                    Contingent
          9024 N. Rockwell Drive                                              Unliquidated
          Oklahoma City, OK 73132                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $760.32
          Kohrt Transport                                                     Contingent
          10500 Crane Road                                                    Unliquidated
          Meridian, OK 73058                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,625.00
          Linkedin                                                            Contingent
          100 West Maude Avenue                                               Unliquidated
          Sunnyside, CA 94085                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Linq Partners                                                       Contingent
          5057 Keller Springs Parkway, Suite 300                              Unliquidated
          Addison, TX 75001                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $228.85
          LPM Forklift Sales and Service, Inc.                                Contingent
          PO Box 82853                                                        Unliquidated
          Oklahoma City, OK 73148                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,569.46
          LYF Leasing                                                         Contingent
          1500 Post Road                                                      Unliquidated
          Anchorage, AK 99501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43.79
          Master Pumps                                                        Contingent
          1617 SE 23rd Street                                                 Unliquidated
          OKC, OK 73129                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,986.82
          Master Truck & Trailer LLC                                          Contingent
          3000 Garden City Hwy                                                Unliquidated
          Midland, TE 79701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84.55
          McBride Supplies It All, LLC.                                       Contingent
          709 W. Broadway, PO Box 1105                                        Unliquidated
          Hobbs, NM 88240                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          Meridian Technology Center                                          Contingent
          1312 South Sangre Road                                              Unliquidated
          Attn: Finance Department                                            Disputed
          Stillwater, OK 74074
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,352.30
          MHC Kenworth - Oklahoma City                                        Contingent
          PO Box 879269                                                       Unliquidated
          Kansas City, MO 64187-9269                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,463.45
          Midwest Hose                                                        Contingent
          PO Box 96558                                                        Unliquidated
          Oklahoma City, OK 73143                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,544.50
          Modular Space Corporation                                           Contingent
          12603 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693-0126                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $135.00
          N C Sanitation, Inc.                                                Contingent
          P.O. Box 355                                                        Unliquidated
          Chester, WV 26034                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $240.17
          National Lime & Stone Company                                       Contingent
          PO Box 120                                                          Unliquidated
          Findlay, OH 45839-0120                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Ninth Street Group LLC                                              Contingent
          1941 Johns Drive                                                    Unliquidated
          Glenview, IL 60025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,025.00
          North Star Properties                                               Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Rent
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,113.88
          O'Reilly Automotive, Inc.                                           Contingent
          PO Box 9464                                                         Unliquidated
          Springfield, MO 65801-9464                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $694.08
          OG&E                                                                Contingent
          PO Box 24990                                                        Unliquidated
          Oklahoma City, OK 73124-0990                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $214.50
          Ohio Valley Septic                                                  Contingent
          190 Valley View Drive                                               Unliquidated
          Wellsburg, WV 26070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125.00
          OK Corp. Commission                                                 Contingent
          PO Box 52000                                                        Unliquidated
          Attn: Transportation Division                                       Disputed
          Oklahoma City, OK 73152
                                                                             Basis for the claim:    Fine
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,575.29
          Pedal Down Trucking                                                 Contingent
          3015 Rock Creek Drive                                               Unliquidated
          Fort Collins, CO 80528                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $252.88
          Personal Concepts                                                   Contingent
          PO Box 5750                                                         Unliquidated
          Carol Stream, IL 60197-5750                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,543.24
          PH Delivery                                                         Contingent
          228 S. 17th Street                                                  Unliquidated
          Weirton, WV 26062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $848.60
          Pikepass                                                            Contingent
          PO Box 268803                                                       Unliquidated
          Oklahoma City, OK 73126-8803                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $939.51
          Poppe Truck Service                                                 Contingent
          257 State Ropute 250                                                Unliquidated
          Adena, OH 43901-7925                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,350.00
          Poston Denny & Killpack, PLLC                                       Contingent
          3400 Merlin Dr.                                                     Unliquidated
          Idaho Falls, ID 83404                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,062.21
          Premier Truck Rental                                                Contingent
          9138 Bluffton Road                                                  Unliquidated
          Ft. Wayne, IN 46809
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.54
          Quill Corp.                                                         Contingent
          PO Box 37600                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,774.52
          R&R Roustabout Services                                             Contingent
          PO Box 253                                                          Unliquidated
          Ringwood, OK 73768                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Reginald Joseph                                                     Contingent
          900 Rachel's Court                                                  Unliquidated
          Allen, TX 75013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          River Rail Development, LLC                                         Contingent
          PO Box 6543                                                         Unliquidated
          35th & McColloch Streets                                            Disputed
          Wheeling, WV 26003
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110.00
          RMS                                                                 Contingent
          PO Box 361136                                                       Unliquidated
          Columbus, OH 43236                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 25 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                   Case number (if known)
              Name

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $504.07
          Robinson Collision                                                  Contingent
          252 State Route 646                                                 Unliquidated
          Richmond, OH 43944                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,695.09
          Rush Truck Center                                                   Contingent
          PO Box 2250                                                         Unliquidated
          Decatur, AL 35609                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $175,000.00
          Savetech, LLC                                                       Contingent
          7292 Culebra Rio Circle                                             Unliquidated
          Idaho Falls, ID 83401                                               Disputed
          Date(s) debt was incurred 08/22/16
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,171.91
          Scott Bormaster                                                     Contingent
          4911 Laurel Street                                                  Unliquidated
          Bellaire, TX 77401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,778.88
          Shaffer's Auto & Diesel Repair LLC                                  Contingent
          7292 Greenwood Road                                                 Unliquidated
          Shreveport, LA 71109                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $120.39
          Site Box Storage                                                    Contingent
          RedGarud, LLC                                                       Unliquidated
          PO Box 733895                                                       Disputed
          Dallas, TX 75391
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $713.00
          Skyview Apartments                                                  Contingent
          1644 E Highway 66                                                   Unliquidated
          El Reno, OK 73036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 26 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                   Case number (if known)
              Name

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78.03
          Sooner Rubber Products                                              Contingent
          PO Box 95103                                                        Unliquidated
          Oklahoma City, OK 73143                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,579.00
          Southside Wrecker Service LLC                                       Contingent
          1313 S Main St.                                                     Unliquidated
          Kingfisher, OK 73750                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $718.96
          Speedco                                                             Contingent
          P.O. Box 945684                                                     Unliquidated
          Atlanta, GA 30394-5684                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,822.27
          STARS HazMat                                                        Contingent
          4201 Neshaminy Blvd, Suite 108-278                                  Unliquidated
          Bensalem, PA 19020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,474.05
          Steel Valley Tank & Welding                                         Contingent
          PO Box 8                                                            Unliquidated
          Brilliant, OH 43913                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $839.35
          Steubenville Truck Center                                           Contingent
          PO Box 1741                                                         Unliquidated
          Steubenville, OH 43952-0741                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Steven C. Earl                                                      Contingent
          Gauntt, Earl & Binney, L.L.P.                                       Unliquidated
          1400 Woodloch Forest Drive, Suite 575                               Disputed
          Spring, TX 77380
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 27 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                   Case number (if known)
              Name

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $706.56
          Swenson Backhoe Service, Inc.                                       Contingent
          PO Box 151                                                          Unliquidated
          Electra, TX 76360                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,332.00
          T&W Tire                                                            Contingent
          P.O. Box 258859                                                     Unliquidated
          Oklahoma City, OK 73125-8859                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,034.51
          TanMar                                                              Contingent
          P.O. Box 1376                                                       Unliquidated
          Eunice, LO 70535                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,198.28
          Tifco Industries                                                    Contingent
          PO Box 40277                                                        Unliquidated
          Houston, TX 77240-0277                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Trail Enterprises LLC                                               Contingent
          1518 South Rock Island Avenue                                       Unliquidated
          El Reno, OK 73036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,325.00
          Transportation Compliance                                           Contingent
          601 E Schiller Lane                                                 Unliquidated
          Meridian, ID 83642                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,540.00
          Tres Safety LLC                                                     Contingent
          PO Box 701                                                          Unliquidated
          El Reno, OK 73036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 28 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                   Case number (if known)
              Name

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700.00
          Triple A Storage                                                    Contingent
          375 Bantam Ridge                                                    Unliquidated
          Wintersville, OH 43953                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Storage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,709.57
          Triple M Transport                                                  Contingent
          800 N Mitchell Rd                                                   Unliquidated
          Hennessey, OK 73742                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.00
          Trucker Search.com                                                  Contingent
          PO Box 131                                                          Unliquidated
          Chillicothe, MO 64601                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,116.14
          United Rentals                                                      Contingent
          6125 Lakeview Road                                                  Unliquidated
          Suite 300 Charlotte, NC 28269                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,833.35
          United Superior Logistics                                           Contingent
          2233 Sharma Drive                                                   Unliquidated
          Wellington, FL 33414                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,926.21
          VWP Step by Step                                                    Contingent
          2634 Stratford Drive                                                Unliquidated
          Springfield, IL 62704                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,369.40
          Wingspan, LLC                                                       Contingent
          739 Grant 55                                                        Unliquidated
          Hensley, AR 72065                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 29 of 30
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 Debtor       S & S Heavy Haul, LLC                                                                   Case number (if known)
              Name

 3.118     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,919.15
           Yawer Contracting                                                  Contingent
           4725 Crest Place                                                   Unliquidated
           Oklahoma City, OK 73117                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $11,579.12
           Ziegler Tire                                                       Contingent
           PO Box 678                                                         Unliquidated
           Massillon, OH 44648                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       54,412.37
 5b. Total claims from Part 2                                                                            5b.    +   $                    1,336,476.40

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        1,390,888.77




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 30 of 30
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                         Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 43 of 53
 Fill in this information to identify the case:

 Debtor name         S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Vehicle/Truck Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                        Alaska Capital Holding
              List the contract number of any                                           7292 Culebra Rio Circle
                    government contract                                                 Idaho Falls, ID 83406


 2.2.         State what the contract or                  Vehicle/Truck Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                        Ascentium Capital LLC
              List the contract number of any                                           23970 US 59 North
                    government contract                                                 Kingwood, TX 77339


 2.3.         State what the contract or                  Nonresidential Real
              lease is for and the nature of              Property Lease - 1601
              the debtor's interest                       Midway, Idaho Falls, ID

                  State the term remaining
                                                                                        Boyd Christensen
              List the contract number of any                                           5485 E. Sunnyside Road
                    government contract                                                 Idaho Falls, ID 83406


 2.4.         State what the contract or                  Agreement to Lease
              lease is for and the nature of              Equipment
              the debtor's interest

                  State the term remaining
                                                                                        Capital Logistics
              List the contract number of any                                           12 Water Street, Suite 403B
                    government contract                                                 White Plains, NY 10601




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 3
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                           Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 44 of 53
 Debtor 1 S & S Heavy Haul, LLC                                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Equipment Lease - 2015
             lease is for and the nature of               Dragon 12,600 Gallon
             the debtor's interest                        VIN 39187

                  State the term remaining
                                                                                       Holcombe Enterprise
             List the contract number of any                                           251 Kansas Road, PO Box 1330
                   government contract                                                 Toledo, WA 98591


 2.6.        State what the contract or                   Equipment Lease - 2015
             lease is for and the nature of               Dragon 12,600 Gallon
             the debtor's interest                        VIN 39186

                  State the term remaining
                                                                                       Holcombe Enterprise
             List the contract number of any                                           251 Kansas Road, PO Box 1330
                   government contract                                                 Toledo, WA 98591


 2.7.        State what the contract or                   Vehicle/Truck Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Kenworth Sales Co., Paclease
             List the contract number of any                                           Dept. #001, PO Box 27088
                   government contract                                                 Salt Lake City, UT 84127-0088


 2.8.        State what the contract or                   Vehicle/Truck Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Lone Star Crude
             List the contract number of any                                           4925 Greenville Avenue, Suite 1220
                   government contract                                                 Dallas, TX 75206


 2.9.        State what the contract or                   Vehicle/Truck Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Metrix Capital
             List the contract number of any                                           155 N. Riverview Dr., Suite 309
                   government contract                                                 Anaheim, CA 92808


 2.10.       State what the contract or                   Nonresidential Real
             lease is for and the nature of               Property Lease - 440
             the debtor's interest                        South Third Street,
                                                          Steubenville, Ohio 43954     River Rail Development, LLC
                  State the term remaining                                             PO Box 6543
                                                                                       35th & McColloch Streets
             List the contract number of any                                           Wheeling, WV 26003
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 3
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 Debtor 1 S & S Heavy Haul, LLC                                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.11.       State what the contract or                   Nonresidential Real
             lease is for and the nature of               Property Lease - 1400
             the debtor's interest                        Trail Blvd., El Reno
                                                          Oklahoma 73036
                  State the term remaining
                                                                                      Trail Enterprises LLC
             List the contract number of any                                          1518 South Rock Island Avenue
                   government contract                                                El Reno, OK 73036




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 3
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                         Case 18-33318 Document 4 Filed in TXSB on 06/19/18 Page 46 of 53
 Fill in this information to identify the case:

 Debtor name         S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Dustin Marchand                   1689 Glenwood Road                               Bank of Idaho                   D       2.2
                                               Luverne, AL 36049                                                                 E/F
                                                                                                                                G



    2.2      Dustin Marchand                   1689 Glenwood Road                               Bank of Idaho                   D       2.3
                                               Luverne, AL 36049                                                                 E/F
                                                                                                                                G



    2.3      Dustin Marchand                   1689 Glenwood Road                               Transportation Alliance         D       2.10
                                               Luverne, AL 36049                                Bank                             E/F
                                                                                                                                G



    2.4      Dustin Marchand                   1689 Glenwood Road                               Transportation Alliance         D       2.11
                                               Luverne, AL 36049                                Bank                             E/F
                                                                                                                                G



    2.5      Steven D. Sill                    3600 E. Hyrum                                    Bank of Idaho                   D       2.2
                                               Idaho Falls, ID 83401                                                             E/F
                                                                                                                                G




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 3
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 Debtor       S & S Heavy Haul, LLC                                                     Case number (if known)



            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Steven D. Sill                    3600 E. Hyrum                                 Bank of Idaho            D       2.3
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.7      Steven D. Sill                    3600 E. Hyrum                                 Daimler                  D       2.5
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.8      Steven D. Sill                    3600 E. Hyrum                                 Daimler                  D       2.6
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.9      Steven D. Sill                    3600 E. Hyrum                                 Daimler                  D       2.7
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.10     Steven D. Sill                    3600 E. Hyrum                                 Keybank                  D       2.8
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.11     Steven D. Sill                    3600 E. Hyrum                                 Keybank                  D       2.9
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.12     Trevor E. Bates                   7292 Culebra Rio Circle                       Bank of Idaho            D       2.2
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.13     Trevor E. Bates                   7292 Culebra Rio Circle                       Bank of Idaho            D       2.3
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G




Official Form 206H                                                       Schedule H: Your Codebtors                               Page 2 of 3
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 Debtor       S & S Heavy Haul, LLC                                                     Case number (if known)



            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Trevor E. Bates                   7292 Culebra Rio Circle                       Daimler                  D       2.5
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.15     Trevor E. Bates                   7292 Culebra Rio Circle                       Daimler                  D       2.6
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.16     Trevor E. Bates                   7292 Culebra Rio Circle                       Daimler                  D       2.7
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.17     Trevor E. Bates                   7292 Culebra Rio Circle                       Keybank                  D       2.8
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G



    2.18     Trevor E. Bates                   7292 Culebra Rio Circle                       Keybank                  D       2.9
                                               Idaho Falls, ID 83401                                                   E/F
                                                                                                                      G




Official Form 206H                                                       Schedule H: Your Codebtors                               Page 3 of 3
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                                                       S & S HEAVY HAUL, LLC
Debtor Name             Debtor Code          Balance          [0-30]          [31-45]          [46-60]     [61+]

HOLLYFRONTIER           HFC009               $4,330.41        $4,330.41       $0.00            $0.00       $0.00
CORPORATION

NEWFIELD EXPLORATION    NWF002               $2,184.82        $0.00           $2,184.82        $0.00       $0.00
COMPANY

OMNI ENERGY GROUP LLC   OEG009               $1,225.82        $0.00           $0.00            $1,225.82   $0.00

PBF HOLDING COMPANY     PBF001               $234,170.50      $234,170.50     $0.00            $0.00       $0.00
LLC

SUNOCO LOGISTICS        SUN507               $54,446.56       $54,446.56      $0.00            $0.00       $0.00
PARTNERS




  SCHEDULE B-11                                            ACCOUNTS RECEIVABLE
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                                                                   S S HEAVY HAUL LLC
                                                                     SCHEDULE B - 47
                                                                  TRUCKS AND TRAILERS


                                                                                         Purchase
Internal ID   Year            Make                Model               VIN                  Value     Market Value                    Creditor
    110T      2013   Durahaul            MST                 3P9KT4421D1033456              77,000         70,000    n/a
      2       2005   GMC                 Sierra 1500         2GTEK13T851194624          n/a                 6,000    n/a
     n/a      2007   Kenworth            W900                1XKWDB9X97J158811          n/a                10,000    n/a
  SH0003      2014   Ford                XLP F150 LTS        1FTFW1ETXEKF92424          n/a                25,000    n/a
      4       2003   Haulmark            TL                  16HPB142X3U029617          n/a                 3,500    n/a
      5       1998   Chevrolet           S10                 1GCCS14X7W8182987          n/a                   500    n/a
     n/a      2017   Crude Transloader                                                                     70,000
     n/a      2017   Corialis Meter                                                                        25,000
   2004T      2013   DuraHaul            Tank Trailer        3P9KT442XD1033505             77,000          70,000    Atlas Sales
    102T      2013   DuraHaul            Tank Trailer        3P9KT4427D1033509             77,000          70,000    Atlas Sales
     111      2013   Kenworth            truck               1XKDD40X8DJ353925            100,000          70,000    Bank of Idaho
     108      2015   Western Star        truck               5KKXAMCK5FPGK0344            100,000         110,000    Bank of Idaho
     109      2015   Western Star        truck               5KKXAMCKXFPGK4079            100,000         110,000    Bank of Idaho
    111T      2015   Troxell             T800                1T9TA4425FR719790             75,000           75,000   Bank of Idaho
    301T      2014   Troxell             TS                  1T9TA4429er719175             80,000          75,000    Barcas
    108T      2014   Troxell             TS                  1T9TA4422ER719177             75,000          60,000    Barcas
    121T      2014   Troxell             TS                  1T9TA4420ER719176             75,000          60,000    Barcas
    122T      2014   Troxell             TS                  1T9TA442XER719170             75,000          60,000    Barcas
    123T      2014   Troxell             TS                  1T9TA4421ER719171             75,000          60,000    Barcas
    124T      2014   Troxell             TS                  1T9TA4423ER719172             75,000          60,000    Barcas
    125T      2014   Troxell             TS                  1T9TA442XER719167             75,000          60,000    Barcas
    126T      2014   Troxell             TS                  1T9TA4427ER719174             75,000          60,000    Barcas
    401T      2014   Troxell             TS                  1T9TA4425ER719173             75,000          60,000    Barcas
     122      2016   Kenworth            T800                1XKDD40X7GJ125516            145,000         113,000    Key Bank
     123      2016   Kenworth            T800                1XKDD40X9GJ125517            145,000         113,000    Key Bank
   2001T      2017   Dragon              ACT TL - LPG 2015   1A9A45031FH939186            150,000         135,000    Key Bank
   2002T      2017   Dragon              ACT TL - LPG 2015   1A9A45033FH939187            150,000         135,000    Key Bank
     113      2015   Peterbilt           Model 389           1XPXD49X0FD306027            135,000         115,000    Transportation Alliance Bank
     114      2015   Peterbilt           Model 389           1XPXD49X2FD306028            135,000         115,000    Transportation Alliance Bank


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                                                                S S HEAVY HAUL LLC
                                                                  SCHEDULE B - 47
                                                               TRUCKS AND TRAILERS
                                                                                     Purchase
Internal ID   Year           Make               Model               VIN               Value      Market Value                     Creditor
    115       2015   Peterbilt      Model 389              1XPXD49X4FD306029           135,000        115,000   Transportation Alliance Bank
    116       2015   Peterbilt      Model 389              1XPXD49X4FD306032           135,000        115,000   Transportation Alliance Bank
   113T       2015   Troxell        9240 Crude Tanker      1T9TA4425FR719949            75,000         80,000   Transportation Alliance Bank
   112T       2015   Troxell        9240 Crude Tanker      1T9TA4824FR719922            75,000         80,000   Transportation Alliance Bank
   114T       2015   Troxell        9240 Crude Tanker      1T9TA4820FR719920            75,000         80,000   Transportation Alliance Bank
   115T       2015   Troxell        9240 Crude Tanker      1T9TA4822FR719921            75,000         80,000   Transportation Alliance Bank
    112       2016   Western Star   4900SB                 5KKXAMAV6GPGS3512           140,875        115,000   Daimler
    117       2016   Western Star   4900SB                 5KKXAMAV1GPGT0111           143,618        115,000   Daimler
    118       2016   Western Star   4900SB                 5KKXAMAV3GPGT0112           143,618        115,000   Daimler
   104T       2015   Troxell        TL                     1T9TA4338FR719731            88,808         74,000   Metrix
   127T       2014   Troxell        Tank Trailer #451      1T9TA482XER719048            90,000         75,000   Metrix
  2006T       2011   Tytal          oil trailer            3T1L1T62XBC000076            89,500         30,000   Metrix
   105T       2015   Troxell        407 tanker             1T9TA442XFR719820            82,000         80,000   Metrix
   116T       2015   Troxell        9240 Crude Tanker      1T9TA4826FR719999            89,450         80,000   Metrix
   119T       2015   Troxell        tanker                 1T9TA4333FR719524            88,808         80,000   Metrix
   120T       2015   Troxell        tanker                 1T9TA4331FR719523            88,808         80,000   Metrix
     3        2015   Ford           F150                   1FTEW1EG4FFA75564                           25,000   Alaska Capital
   118T       2015   Troxell        BBL Crude Oil Tanker   1T9TA4426FR719121            76,786         80,000   Ascentium
   117T       2014   Troxell        BBL Crude Oil Tanker   1T9TA4424ER719374            75,000         60,000   Capital Logistics
    128       2016   Kenworth       T880                   1XKZD49X8GJ118566           130,000        110,000   Lone Star
    130       2016   Kenworth       T880                   1XKZD49X1GJ118568           130,000        110,000   Lone Star
    131       2016   Kenworth       T880                   1XKZD49X3GJ118569           130,000        110,000   Lone Star
    132       2016   Kenworth       T880                   1XKZD49XXGJ118570           130,000        110,000   Lone Star
   128T       2015   Troxell        220 BBL                1T9TA442XFR719123            60,000         80,000   Lone Star
   130T       2016   Troxell        220 BBL                1T9TA4429GR719146            60,000         85,000   Lone Star
   131T       2016   Troxell        220 BBL                1T9TA4420GR719147            60,000         85,000   Lone Star
   132T       2016   Troxell        220 BBL                1T9TA4424GR719149            60,000         85,000   Lone Star
    119       2016   Kenworth       T800                   1XKDP4EX1GJ125527           159,321        130,000   Paccar
    120       2016   Kenworth       T800                   1XKDP4EX3GJ125528           159,321        130,000   Paccar
    121       2016   Kenworth       T800                   1XKDD40XXGJ125526           146,425        113,000   Paccar
    124       2016   Kenworth       T800                   1XKDD40X4GJ125524           146,425        113,000   Paccar


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                                                            S S HEAVY HAUL LLC
                                                              SCHEDULE B - 47
                                                           TRUCKS AND TRAILERS
                                                                                  Purchase
Internal ID   Year         Make          Model                 VIN                 Value      Market Value          Creditor
    125       2016   Kenworth     T800              1XKDD40X4GJ125523               146,425        113,000 Paccar
    126       2016   Kenworth     T800              1XKDD40X2GJ125522               146,425        113,000 Paccar
                                                    Estimated market value                       5,042,000

                                                    Appraised liquidation value                  2,962,500




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 Fill in this information to identify the case:

 Debtor name         S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 18, 2018                           X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Benjamin Freeman
                                                                         Printed name

                                                                         Manager
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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